Case 3:24-cv-10239-MAS-JBD Document 9

Filed 01/10/25

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,
Vv.

AUROBINDO PHARMA LTD.
AUROBINDO PHARMA USA, INC.,
ALKEM LABORATORIES LTD., DR.
REDDY’S LABORATORIES INC. DR.
REDDY’S LABORATORIES LTD.,
HETERO USA, INC., HETERO LABS LTD.
UNIT-V, HETERO LABS LTD., MSN
LABORATORIES PRIVATE LTD.,
SANDOZ INC., ZYDUS
PHARMACEUTICALS (USA) INC.,
and ZYDUS LIFESCIENCES LTD.,

Defendants.

INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,
Vv.
ALKEM LABORATORIES LTD.,
Defendant.

INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,
Vv.

AUROBINDO PHARMA LTD.,
AUROBINDO PHARMA USA, INC.,

Defendants.

Civil Action No. 3:24-cv-04264 (MAS-
JBD) (consolidated)

STIPULATION AND ORDER
CONSOLIDATING CASES FOR
PRETRIAL PURPOSES

Filed Electronically

Civil Action No. 3:24-cv-10234 (MAS-
JBD)

Civil Action No, 3:24-cv-10235 (MAS-
JBD)

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INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,
Vv.

DR. REDDY’S LABORATORIES, INC.,
DR. REDDY’S LABORATORIES LTD.,

Defendants.

INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,

V.

HETERO USA, INC., HETERO LABS LTD.
UNIT-V, HETERO LABS LTD.,

Defendants.

INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,
Vv.

MSN LABORATORIES PRIVATE LTD.,

Defendant.

INTRA-CELLULAR THERAPIES, INC.,
Plaintiff,
V.
SANDOZ INC.,

Defendant.

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Civil Action No. 3:24-cv-10236 (MAS-
JBD)

Civil Action No. 3:24-cv-10237 (MAS-
IBD)

Civil Action No. 3:24-cv-10238 (MAS-
JBD)

Civil Action No. 3:24-cv-10239 (MAS-
JBD)
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INTRA-CELLULAR THERAPIES, INC.,

Plaintiff,

Civil Action No. 3:24-cv-10240 (MAS-

v: IBD)

ZYDUS PHARMACEUTICALS (USA)
INC., ZYDUS LIFESCIENCES LTD.,

Defendants.

WHEREAS, Plaintiff Intra-Cellular Therapies, Inc., “ITCT”’) filed Civil Action No.
3:24-cv-04264 in this Judicial District against Defendants Aurobindo Pharma Ltd. and
Aurobindo Pharma USA, Inc. (collectively, “Aurobindo”) on March 27, 2024;

WHEREAS, [TCI filed the related Civil Action Nos. 3:24-cv-04312; 3:24-cv-04314;
3:24-cv-04317; 3:24-cv-04325; 3:24-cv-04327; and 3:24-cv-04330 in this Judicial District against
Defendants Alkem Laboratories Ltd. (“Alkem’”); Dr. Reddy’s Laboratories Inc. and Dr.
Reddy’s Laboratories Ltd. (collectively, “DRL”); Hetero USA, Inc., Hetero Labs Ltd. Unit-V,
and Hetero Labs Ltd. (collectively, “Hetero”); MSN Laboratories Private Ltd. (“MSN”);
Sandoz Inc. (“Sandoz”); and Zydus Pharmaceuticals (USA) Inc. and Zydus Lifesciences Ltd.
(collectively, “Zydus”), respectively, on March 28, 2024;

WHEREAS, Civil Action Nos. 3:24-cv-04312; 3:24-cv-04314; 3:24-cv-04317; 3:24-cv-
04325; 3:24-cv-04327; and 3:24-cv-04330 have been consolidated with Civil Action No. 3:24-cv-
04264;

WHEREAS, ITCI filed the related Civil Action Nos. 3:24-cv-08845; 3:24-cv-08848;
3:24-cv-08850; 3:24-cv-08852; 3:24-cv-08854; 3:24-cv-08855; and 3:24-cv-08856 in this Judicial
District against Defendants Alkem, Aurobindo, DRL, Hetero, MSN, Sandoz, and Zydus,

respectively, on August 29, 2024;
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WHEREAS, Civil Action Nos. 3:24-cv-08845; 3:24-cv-08848; 3:24-cv-08850; 3:24-cv-
08852; 3:24-cv-08854; 3:24-cv-08855; and 3:24-cv-08856 have been consolidated with Civil Action
No. 3:24-cv-04264;

WHEREAS, ITCI filed the related Civil Action No. 3:24-cv-10234 in this Judicial
District against Alkem on November |, 2024;

WHEREAS, ITCI filed the related Civil Action No. 3:24-cv-10235 in this Judicial
District against Aurobindo on November 1, 2024;

WHEREAS, [TCI filed the related Civil Action No. 3:24-cv-10236 in this Judicial
District against DRL on November 1, 2024;

WHEREAS, [TCI filed the related Civil Action No. 3:24-cv-10237 in this Judicial
District against Hetero on November |, 2024;

WHEREAS, ITCI filed the related Civil Action No. 3:24-cv-10238 in this Judicial
District against MSN on November 1, 2024;

WHEREAS, ITCI filed the related Civil Action No. 3:24-cv-10239 in this Judicial
District against Sandoz on November 1, 2024;

WHEREAS, ITCI filed the related Civil Action No. 3:24-cv-10240 in this Judicial
District against Zydus on November 1, 2024; and

WHEREAS, these related actions are all Hatch-Waxman cases that have the same
Plaintiff and involve the same Abbreviated New Drug Applications at issue in Civil Action No.
3:24-cv-04264 (D.N.J.) (consolidated) that reference the same New Drug Application for
Plaintiff's CAPLYTA® product;

WHEREAS, the parties have conferred and agreed to consolidation of these related

actions for pretrial purposes to promote efficiency and conserve the resources of the Court and
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the parties, while reserving their right to request joint or separate trials pursuant to Federal
Rule of Civil Procedure 42(b), and the Court has determined that there is good cause to
consolidate these related cases pursuant to Federal Rule of Civil Procedure 42;

IT IS on this_8th_ day of __ January, 2025,

ORDERED that Civil Action Nos. 3:24-cv-04264; 3:24-cv-10234; 3:24-cv-10235;
3:24-cv-10236; 3:24-cv-10237; 3:24-cv-10238; 3:24-cv-10239; and 3:24-cv-10240 (the
“Consolidated Actions”) are consolidated for all pretrial purposes;

IT IS FURTHER ORDERED that all filings in the Consolidated Actions shall use the

following caption going forward:

INTRA-CELLULAR THERAPIES, INC., Civil Action No. 3:24-cv-04264 (MAS-JBD)
(Consolidated)
Plaintiff,
V.
Filed Electronically
AUROBINDO PHARMA LTD.

AUROBINDO PHARMA USA, INC.,
ALKEM LABORATORIES LTD., DR.
REDDY’S LABORATORIES INC. DR.
REDDY’S LABORATORIES LTD.,
HETERO USA, INC., HETERO LABS LTD.
UNIT-V, HETERO LABS LTD., MSN
LABORATORIES PRIVATE LTD.,
SANDOZ INC., ZYDUS
PHARMACEUTICALS (USA) INC.,

and ZYDUS LIFESCIENCES LTD.,

Defendants.

IT IS FURTHER ORDERED that all filings going forward shall be filed in Civil

Action No. 3:24-cv-04264; and
Case 3:24-cv-10239-MAS-JBD Document 9

Filed 01/10/25

IT IS FURTHER ORDERED that all counsel who have been admitted pro hac

vice in any of the Consolidated Actions shall be deemed admitted pro hac vice in Civil

Action No, 3:24-cv-04264.
Dated: January 3, 2025

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SO ORDERED this 8th day of January, 2025:

Hon, Michael A. Shfpp, U.S.D.J.
